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                                          U.S. Department of Justice
[Type text]
                                                         United States Attorney
                                                         Southern District of New York
                                                         The Silvio J. Mollo Building
                                                         One Saint Andrew’s Plaza
                                                         New York, New York 10007



                                                          January 25, 2018

    By ECF
    The Honorable Katherine B. Forrest
    The Honorable Analisa Torres
    The Honorable Valerie E. Caproni
    United States District Judge
    United States District Court
    Southern District of New York
    500 Pearl Street
    New York, NY 10007

                  Re:     United States v. Darcy Wedd, et al., 15 Cr. 616 (KBF)
                          United States v. Michael Pajaczkowski, 15 Cr. 606 (AT)
                          United States v. Lin Miao, 15 Cr. 628 (VEC)

Your Honors:

        The Government respectfully submits this letter in accordance with the Court’s procedure
regarding sentencings involving multiple defendants in factually related cases that are pending
before different judges. The procedure provides in pertinent part that, when there is a defendant
to be sentenced as a result of a guilty plea and there are active cases pending against other
defendants “arising out of essentially the same criminal conduct” which are assigned to other
judges, the Government to is provide a “brief statement identifying any such pending cases.”
Such statement is to be provided to the assigned sentencing judge and the judge(s) before whom
the other cases are pending.

       Here, the same set of operative facts gives rise to the cases against the nine defendants
who were indicted before Judge Forrest 1 and the cases against defendants Lin Miao and Michael
Pajaczkowski, who pled guilty before Judges Caproni and Torres, respectively. As alleged in the
operative indictments and informations, and as proven at two trials 2 before Judge Forrest, the
defendants were co-conspirators in a scheme to subscribe cell phone consumers to premium text
messaging services that the consumers had not authorized and did not want. The scheme, which
was known as “auto-subscribing,” charged the victims $10/month and resulted in total losses to
consumers of over $100 million. Miao and Pajaczkowski, who each testified three times before
Judge Forrest, explained their roles in the scheme and their work with others who were indicted


1
 Those nine defendants are Jason Lee, Michael Pearse, Kevin Liu, Darcy Wedd, Erdolo Eromo
Fraser Thompson, Francis Assifuah, Christopher Goff, and Eugeni Tsventnenko.
2
    Judge Forrest actually heard three trials on the subject, but the first resulted in a hung jury.
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before Judge Forrest, including Jason Lee, Michael Pearse, Kevin Liu, Darcy Wedd, and Erdolo
Eromo for Miao and Darcy Wedd, Erdolo Eromo, Fraser Thompson, Francis Assifuah, and
Eugeni Tsvetnenko for Pajaczkowski.

        Thus far, two defendants have been sentenced before Judge Forrest: Thompson to 60
months’ imprisonment after conviction at trial and Assifuah to 33 months’ imprisonment after a
guilty plea. Four of the remaining defendants before Judge Forrest stand convicted and have the
following sentencing or sentencing control dates: (1) Eromo, March 9, 2018, following a guilty
plea; (2) Wedd, April 2, 2018, following conviction at trial; (3) Goff, May 18, 2018, following a
guilty plea; and (4) Lee, May 25, 2018, following a guilty plea. The remaining three defendants
before Judge Forrest – Pearse, Liu, and Tsvetnenko – are awaiting extradition from Australia.

       Miao has a sentencing control date before The Honorable Valerie E. Caproni of March
16, 2018. Pajaczkowski does not currently have a scheduled sentencing date before The
Honorable Analisa Torres.

       Please contact me if you need any further information, and thank you for your
consideration of this matter.

                                                    Respectfully submitted,

                                                    GEOFFREY S. BERMAN
                                                    United States Attorney
                                                    Southern District of New York

                                                    /s/ Jennifer L. Beidel
                                                    Sarah E. Paul/Richard Cooper/
                                                    Jennifer L. Beidel/Jilan Kamal
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